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   EXHIBIT 2
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Certification and Authorization of Named Plaintiff Pursuant
to Federal Securities Laws
The individual or institution listed below (the "Plaintiff") authorizes and, upon execution
of the accompanying retainer agreement by The Rosen Law Firm P.A., retains The Rosen
Law Firm P.A. to file an action under the federal securities laws to recover damages and
to seek other relief against Xunlei Limited. The Rosen Law Firm P.A. will prosecute the
action on a contingent fee basis and will advance all costs and expenses. The Xunlei
Limited. Retention Agreement provided to the Plaintiff is incorporated by reference,
upon execution by The Rosen Law Firm P.A.

 First name:          Noelle
 Middle initial:
 Last name:           Dunphy
 Address:
 City:
 State:                Redacted
 Zip:
 Country:
 Facsimile:
 Phone:
 Email:

Plaintiff certifies that:

1. Plaintiff has reviewed the complaint and authorized its filing.
2. Plaintiff did not acquire the security that is the subject of this action at the direction
   of plaintiff's counsel or in order to participate in this private action or any other
   litigation under the federal securities laws.
3. Plaintiff is willing to serve as a representative party on behalf of a class, including
   providing testimony at deposition and trial, if necessary.
4. Plaintiff represents and warrants that he/she/it is fully authorized to enter into and
   execute this certification.
5. Plaintiff will not accept any payment for serving as a representative party on behalf
   of the class beyond the Plaintiff's pro rata share of any recovery, except such
   reasonable costs and expenses (including lost wages) directly relating to the
   representation of the class as ordered or approved by the court.
6. Plaintiff has made no transaction(s) during the Class Period in the debt or equity
   securities that are the subject of this action except those set forth below:

Acquisitions:

   Type of Security              Buy Date           # of Shares       Price per Share
   Common Stock                  12/18/2017         3000              44.13


Sales:

   Type of Security              Sale Date          # of Shares       Price per Share

                                 12/29/2017         1000              28.36
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Certification for Noelle Dunphy (cont.)


7. I have not served as a representative party on behalf of a class under the federal
   securities laws during the last three years, except if detailed below.

   Re: the question above this one, question #6 not #7, I will email my purchases and
   sales of Riot

I declare under penalty of perjury, under the laws of the
United States, that the information entered is accurate:              YES

By clicking on the button below, I intend to sign and execute
this agreement and retain the Rosen Law Firm, P.A. to
proceed on Plaintiff's behalf, on a contingent fee basis.             YES

Signed pursuant to California Civil Code Section 1633.1, et seq. - and the Uniform
Electronic Transactions Act as adopted by the various states and territories of the
United States.

Date of signing: 03/17/2018
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Certification and Authorization of Named Plaintiff Pursuant
to Federal Securities Laws
The individual or institution listed below (the "Plaintiff") authorizes and, upon execution
of the accompanying retainer agreement by The Rosen Law Firm P.A., retains The Rosen
Law Firm P.A. to file an action under the federal securities laws to recover damages and
to seek other relief against Xunlei Limited迅雷. The Rosen Law Firm P.A. will prosecute
the action on a contingent fee basis and will advance all costs and expenses. The
Xunlei Limited迅雷. Retention Agreement provided to the Plaintiff is incorporated by
reference, upon execution by The Rosen Law Firm P.A.

 First name:          Yuejun
 Middle initial:
 Last name:           Jiang
 Address:
 City:
 State:                     Redacted
 Zip:
 Country:
 Facsimile:
 Phone:
 Email:

Plaintiff certifies that:

1. Plaintiff has reviewed the complaint and authorized its filing.
2. Plaintiff did not acquire the security that is the subject of this action at the direction
   of plaintiff's counsel or in order to participate in this private action or any other
   litigation under the federal securities laws.
3. Plaintiff is willing to serve as a representative party on behalf of a class, including
   providing testimony at deposition and trial, if necessary.
4. Plaintiff represents and warrants that he/she/it is fully authorized to enter into and
   execute this certification.
5. Plaintiff will not accept any payment for serving as a representative party on behalf
   of the class beyond the Plaintiff's pro rata share of any recovery, except such
   reasonable costs and expenses (including lost wages) directly relating to the
   representation of the class as ordered or approved by the court.
6. Plaintiff has made no transaction(s) during the Class Period in the debt or equity
   securities that are the subject of this action except those set forth below:

Acquisitions:

   Type of Security               Buy Date          # of Shares       Price per Share
   普通股                            11/21/2017        500               22.2624
   普通股                            01/05/2018        2000              18.781
   普通股                            01/10/2018        1000              22.5795
   普通股                            01/10/2018        800               22.86
   普通股                            01/10/2018        1000              23.0901
   普通股                            01/10/2018        500               22.419
   普通股                            01/10/2018        1000              23.2399
   普通股                            11/21/2017        10                22.3699
   普通股                            11/21/2017        100               22.7999
   普通股                            11/21/2017        200               22.8298
   普通股                            11/21/2017        1500              22.2399
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Certification for Yuejun Jiang (cont.)


   普通股                        11/21/2017           200               22.33
   普通股                        11/21/2017           300               22.40
   普通股                        01/03/2018           3000              16.0683
   普通股                        01/03/2018           5000              16.0311
   普通股                        01/05/2018           1000              18.8899
   普通股                        01/05/2018           2000              18.8353


Sales:

   Type of Security           Sale Date            # of Shares       Price per Share

   普通股                        01/02/2018           310               16.4901
   普通股                        01/03/2018           2500              16.3601
   普通股                        01/03/2018           2000              16.5605
   普通股                        01/03/2018           2000              19.3801
   普通股                        01/03/2018           2000              19.3901
   普通股                        01/09/2018           1000              20.81
   普通股                        01/09/2018           2000              20.2501
   普通股                        01/09/2018           1000              20.39




7. I have not served as a representative party on behalf of a class under the federal
   securities laws during the last three years, except if detailed below. [ ]

I declare under penalty of perjury, under the laws of the
United States, that the information entered is accurate:               YES

By clicking on the button below, I intend to sign and execute
this agreement and retain the Rosen Law Firm, P.A. to
proceed on Plaintiff's behalf, on a contingent fee basis.              YES

Signed pursuant to California Civil Code Section 1633.1, et seq. - and the Uniform
Electronic Transactions Act as adopted by the various states and territories of the
United States.

Date of signing: 02/14/2018
